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              Of Attorneys for Debtor-in Possession




                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

     In re                                            Case No. 20-32571-dwh11

     U.S. Outdoor Holding LLC                         MOTION FOR AUTHORITY TO PAY
                                                      PREPETITION PAYROLL, PAYROLL
                                                      TAXES, EMPLOYEE HEALTH INSURANCE
                                                      PREMIUMS AND WORKERS'
                                                      COMPENSATION PREMIUMS
               Debtor-in-Possession.                  Expedited Hearing Requested


                                                NOTICE

              This Motion is an ex parte First Day Motion in a Chapter 11 bankruptcy. If you

    oppose the proposed course of action or relief sought in this Application. If the Bankruptcy

    Court sets a hearing, you will receive a separate notice listing the hearing date, time, and

    other relevant information. The notice of hearing will also provide you with the deadline to

    file a written objection with the Clerk of the Bankruptcy Court at 1050 SW 6th Avenue #700,

    Portland, OR 97204 and advise that you must also serve at the same time the objection on

    Debtor-in-Possession, c/o Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW

    Washington Street, Suite 520, (503) 241-4869.


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               HEALTH INSURANCE PREMIUMS AND WORKERS' COMPENSATION PREMIUMS
               Expedited Hearing Requested
                                                                            VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
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                                                                                  Portland, Oregon 97204-2690
                                                                                         (503) 241-4869
                          Case 20-32571-dwh11         Doc 12   Filed 09/04/20
                                                MOTION

              The Debtor-in-Possession, U.S. Outdoor Holding LLC ("Debtor"), requests entry of an

    order authorizing the Debtor to pay prepetition payroll, payroll taxes, employee health

    insurance premiums and workers' compensation insurance premiums associated with its

    current payroll (for the period August 30, 2020 through September 12, 2020) on next

    regularly scheduled payday (September 16, 2020) and also to pay other compensation to its

    employees, such as vacation and paid leave and all other employee benefits, in the ordinary

    course of business, and in support, represents and states:

              1.    On September 4, 2020, the Debtor commenced a reorganization case by the

    filing of a voluntary petition under Chapter 11 of the United States Bankruptcy Code (the

    "Code").

              2.    Pursuant to Sections 1107 and 1108 of the Code, the Debtor is continuing in

    possession of its property and is operating and managing its business as a Debtor-in-

    Possession.

              3.    Debtor seeks authority to pay any prepetition wages, commissions, other

    compensation, vacation and paid leave, federal and state withholding taxes, payroll taxes,

    and all other employee benefits that the Debtor pays in the ordinary course of business.

    Debtor also seeks authority to honor prepetition checks for wages, commissions, payroll

    taxes, employee health insurance premiums and workers' compensation insurance

    premiums which may not have cleared the bank by the Petition date. Such pre-petition

    obligations are hereafter referred to as the “Payroll Obligations.”

              4.    In the case of Payroll Obligations, Debtor requests authority to pay these

    amounts on the next regularly scheduled payday, which is September 16, 2020. The

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    amount of Payroll Obligations which Debtor seeks authority to pay will be detailed in Exhibit

    1 attached to the Proposed Order. The amounts that Debtor requests authority to pay is

    limited to the priority amount of 11 USC § 507(a) and is limited to the current pay period

    (August 30, 2020 through September 12, 2020). With respect to other compensation,

    vacation and paid leave and all other employee benefits, Debtor requests authority to pay

    these amounts in the ordinary course of business. The amounts that Debtor requests

    authority to pay is limited to the priority amount of 11 USC § 507(a) and is limited to the

    current pay period (August 30, 2020 through September 12, 2020.

              5.    Pursuant to Code Sections 507(a)(4), 507(a)(5), and 105, and the judicially

    recognized "necessity of payment doctrine," Debtor requests authority to pay any prepetition

    wages, commissions, other compensation, vacation and paid leave, federal and state

    withholding taxes, payroll taxes, contributions to employee-benefit plans, and all other

    employee benefits that the Debtor pays in the ordinary course of business.

              6.    The gross amount due for the pay period for Payroll Obligations for the

    September 16, 2020 payday is $10,033.46. The total amount of Debtor’s request, including

    paid time off, is $11,960.43. Debtor's request includes management payroll earned during

    the pay period due Edward A. Arinello.

                                              ARGUMENT

              As the Court stated in In re Ionosphere Clubs, Inc., 98 B.R. 174 (Bankr. S.D.N.Y.

    1989), "the paramount policy and goal of Chapter 11, to which all other bankruptcy policies

    are subordinated, is the rehabilitation of the Debtor. This policy was clearly articulated by

    the United States Supreme Court in NLRB v. Bildisco and Bildisco, 465 U.S. 513, 104 S.Ct.

    1188, 79 L.Ed. 2d 482 (1984) when the Court stated, 'the fundamental purpose of

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    reorganization is to prevent the debtor from going into liquidation, with an attendant loss of

    jobs and possible misuse of economic resources.'" In re Ionosphere at 176-177 (citations

    omitted). The Ionosphere Court went on to note that "Section 105 may indeed empower the

    Bankruptcy Courts to authorize the immediate payment of prepetition claims when essential

    to the survival of a debtor." Id. at 177; see also In re Baldwin United Corp., 765 F.2d 343,

    348 (2d Cir. 1985).

              Like the Court in Ionosphere, the Bankruptcy Court in In re Chateaugay Corp., 80

    B.R. 279 (S.D.N.Y. 1987), authorized the Debtor to pay certain prepetition wages, salaries,

    reimbursement expenses and employment benefits, as well as certain workers

    compensation obligations, which claims totaled in excess of $250 million. A group of

    similarly situated creditors (who the debtor did not seek authorization to pay) attacked the

    Court's order on grounds that such selective payments violated Section 507 of the Code.

    On appeal, the District Court rejected this argument and explained:

                    "A rigid application of the priorities of §507 would be inconsistent with
                    the fundamental purpose of reorganization and of the Act's grant of
                    equity powers to bankruptcy courts, which is to create a flexible
                    mechanism that will permit the greatest likelihood of survival of the
                    debtor and payment of creditors in full or at least proportionately."

              The District Court thus upheld the Bankruptcy Court's order, which had concluded

    that if sound business judgment exists to pay certain prepetition claims, and the payments

    serve to preserve and maximize the value of the debtor's estate, the Court should authorize

    the payments. Id. at 282.

              In In re Gulf Air, Inc., 112 B.R. 152 (Bankr. W.D. La. 1989), the Court applied the

    "necessity of payment" doctrine and authorized the debtor to pay certain prepetition

    employee claims. In Gulf Air, the debtor (a charter air carrier) sought authority to pay all

Page 4 of 6    MOTION FOR AUTHORITY TO PAY PREPETITION PAYROLL, PAYROLL TAXES, EMPLOYEE
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    prepetition amounts owed to salaried and hourly employees, and flight crew members,

    including their prepetition expenses. Furthermore, the debtor sought authority to pay

    prepetition health and life insurance premiums for employees and their dependents, in

    addition to workers' compensation.

              The debtor in that case asserted that the success of the reorganization was

    dependent upon continued employment of its skilled employees. Without immediate

    payment to the employees, the employees would cease working, thereby leaving the debtor

    incapable of operating. The Court determined that the immediate payment of the employee

    claims was in the best interest of the debtor and its estate and authorized the debtor to pay

    the prepetition employee claims.

              Debtor represents a similar scenario. Debtor operates a sporting and athletic gear,

    equipment, and supplies store in Multnomah County, Oregon. Debtor sells sporting and

    athletic gear, equipment, and supplies to the general public and other associated products

    to the public. Debtor is unable to pay its employees. The employees will suffer hardship

    and likely cease working. Much of Debtor's revenues are a result of its contracts to sell its

    sporting and athletic gear, equipment, and supplies, which are sold by Debtor's employees

    to the general public. If Debtor fails to continue work at its operation site, Debtor will not be

    able to fulfill customer orders, will cease receiving gear, equipment and supplies under

    Debtor's contracts with suppliers, and runs the risk that contracts may be terminated for

    cause. The loss of the revenue stream from those sources would inhibit a successful

    reorganization and devalue the estate significantly.

              Debtor maintains a significant amount of inventory in the form of athletic and sporting

    gear, equipment and supplies. Without workers to maintain, care for, and sell the seasonal

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    inventory, the seasonal inventory could sustain a precipitous drop in value, and much of it

    would in a short time become worthless. This would also have a detrimental effect on the

    value of the estate, and on the chances of a successful reorganization.

              Allowing Debtor to pay its employees' prepetition claims is necessary to both

    preserve the value of the estate and to put Debtor in a position in which it can successfully

    reorganize.

              WHEREFORE, Debtor respectfully requests that this Court enter an Order in the

    proposed form (attached hereto as Exhibit A) allowing Debtor to pay the payroll and other

    payroll related items referred to herein.

              DATED: September 4, 2020


                                                VANDEN BOS & CHAPMAN, LLP



                                                By:/s/Douglas R. Ricks
                                                   Douglas R. Ricks, OSB 044026
                                                   Of Attorneys for Debtor-in-Possession




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                             IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                         Case No. 20-32571-dwh11

       U.S. Outdoor Holding LLC                      [PROPOSED] ORDER AUTHORIZING
                                                     DEBTOR TO PAY PREPETITION
                                                     PAYROLL, PAYROLL TAXES, EMPLOYEE
                                                     HEALTH INSURANCE PREMIUMS, AND
                                                     WORKERS' COMPENSATION INSURANCE
                                                     PREMIUMS AND OTHER EMPLOYEE
                Debtor-in-Possession.                EXPENSES

               Based on the Debtor-in-Possession's Motion for Authority to Pay Prepetition Payroll,

      Payroll Taxes, Employee Health Insurance Premiums and Workers' Compensation

      Premiums (Doc ___) (“Motion”), and the Court finding good cause exists for granting the

      Motion,

               IT IS HEREBY ORDERED as follows:

               1.    The Motion is granted.

               2.    The Debtor-in-Possession, U.S. Outdoor Holding LLC (“Debtor”), is authorized

      to pay its employees their full paychecks for the pay period from August 30, 2020 through



Page 1 of 3    [PROPOSED] ORDER AUTHORIZING DEBTOR TO PAY PREPETITION              VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
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               PREMIUMS, AND WORKERS' COMPENSATION INSURANCE PREMIUMS                   Portland, Oregon 97204-2690
                                                                                               (503) 241-4869
               AND OTHER EMPLOYEE  EXPENSES
                           Case 20-32571-dwh11   Doc 12 Filed 09/04/20
EXHIBIT A - Page 1 of 4
      and including September 12, 2020, that are due on September 16, 2020 payday. In no

      event shall the Debtor be authorized to pay an employee an amount greater than the limit

      set forth in 11 U.S.C. § 507(a)(4) on account of prepetition wages or commissions.

      Attached as Exhibit 1 is a summary of the pre-petition payroll obligations (including accrued

      sick and vacation pay earned within 180 days of the Petition Date) for all employees of the

      Debtor during the current pay period. None of the amounts listed in the column entitled

      "Priority Amount" exceed the statutory maximum in 11 U.S.C. § 507(a)(4).

              3.     That Debtor is authorized to pay other compensation, employee benefits due

      to its employees pre-petition, including allowing employees to take paid vacation time and/or

      sick leave in the ordinary course of business; provided, however, that such authority is

      limited to the priority amount of 11 U.S.C. § 507(a)(4)-(5) and is limited to benefits accrued

      during the 180-day period preceding the Petition Date.

              4. That Debtor is authorized to pay employer tax obligations, Employee Health

      Insurance Premiums, and Workers' Compensation Premiums incurred pre-petition for the

      payroll periods ending on September 12, 2020

                                                    ###

      PRESENTED BY:

      VANDEN BOS & CHAPMAN, LLP                        First Class Mail:

                                                       See Attached List. (The original Service List is
      By:/s/Douglas R. Ricks                           attached to the original copy filed with the Court
         Douglas R. Ricks, OSB 044026                  only. Creditors may request a copy of the Service
         Of Attorneys for Debtor-in-Possession         List by contacting the undersigned.)


                                                       Electronic Mail:

                                                       The foregoing was served on all CM/ECF
                                                       participants through the Court's Case
                                                       Management/Electronic Case File system.




Page 2 of 3   [PROPOSED] ORDER AUTHORIZING DEBTOR TO PAY PREPETITION                   VANDEN BOS & CHAPMAN, LLP
                                                                                                   Attorneys at Law
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              AND OTHER EMPLOYEE  EXPENSES
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      LBR 9021-1 CERTIFICATION

      I certify that I have complied with the
      requirement of LBR 9021-1(a); Order
      circulated as Proposed Order to Motion.


      By:/s/Douglas R. Ricks
         Douglas R. Ricks, OSB 044026




Page 3 of 3   [PROPOSED] ORDER AUTHORIZING DEBTOR TO PAY PREPETITION    VANDEN BOS & CHAPMAN, LLP
                                                                                   Attorneys at Law
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              AND OTHER EMPLOYEE  EXPENSES
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                                                                                                                          PAYROLL
                                                                                                                 U.S. OUTDOOR HOLDING LLC

                                                                                    Employee                     Vacation                                                  Employer
                                                            Gross       Employee      Ins.                         Amt        Vacation      Sick Amt       Sick Amt         Pd Ins.
                                                Employee    Wages        Taxes      Med/Den    Net Wages         Accrued     Amt Accrued    Accrued       Accrued On         Med        Employer
                                                 Initials Owed as of:   Withheld    withheld   Owed as of:       Before:     On or After:    Before:       or After:         Den       Paid Taxes    ClaimAmt     PriorityAmt
                                                           9/4/2020                             9/4/2020          3/8/20         3/8/20         3/8/20        3/8/20       9/4/2020     9/4/2020
                                                   SA      $1,050.00    $224.50      $67.59     $757.91      $         -     $     467.00   $       -     $            -       $0.00   $     75.79    $1,224.91    $1,224.91
                                                   HB       $540.00     $120.70      $0.00      $419.30      $         -     $     166.32   $       -     $            -       $0.00   $     41.93      $585.62      $585.62
                                                   AC       $660.00      $0.00       $0.00      $660.00      $         -     $        -     $    345.00   $      30.00         $0.00   $     66.00    $1,035.00      $690.00




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                                                   JB       $953.38     $200.98      $0.00      $752.40      $         -     $        -     $    561.51   $            -       $0.00   $     75.24    $1,313.92      $752.40
                                                   MH       $532.00     $102.21      $0.00      $429.79      $         -     $        -     $       -     $     336.00         $0.00   $     42.98      $765.79      $765.79
                                                   EL       $600.00     $124.42      $0.00      $475.58      $         -     $        -     $     37.00   $            -       $0.00   $     47.56      $512.58      $475.58
                                                   TL       $620.00     $134.72      $67.59     $417.69      $         -     $        -     $       -     $            -       $0.00   $     41.77      $417.69      $417.69
                                                   OL       $400.00      $59.72      $0.00      $340.28      $         -     $        -     $       -     $     536.50         $0.00   $     34.03      $876.78      $876.78
                                                  AMV       $768.96     $168.98      $0.00      $599.98      $         -     $     360.45   $       -     $            -       $0.00   $     60.00      $960.43      $960.43
                                                   SM      $535.50      $121.00      $67.59     $346.91      $         -     $        -     $       -     $     459.00         $0.00   $     34.69      $805.91      $805.91
                                                   JM      $1,000.00    $230.66      $67.59     $701.75      $         -     $     500.00   $       -     $            -       $0.00   $     70.17    $1,201.75    $1,201.75
                                                   JW      $989.00      $221.27      $67.59     $700.14      $      448.04   $   1,449.69   $       -     $            -       $0.00   $     70.01    $2,597.87    $2,149.83


                                                OWNERS




                          Case 20-32571-dwh11
                                                   EA      $1,384.62    $330.87      $0.00     $1,053.75     $         -     $        -     $       -     $            -       $0.00   $    105.37    $1,053.75    $1,053.75


                                                TOTALS:   $10,033.46    $2,040.04   $337.95    $7,655.47     $      448.04   $   2,943.46   $    943.51   $   1,361.50         $0.00       $765.55   $13,351.98   $11,960.43




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                          Filed 09/04/20
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